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January 28, 2022

Wentzville School Board President
Mrs. Betsy Bates
280 Interstate Drive
Wentzville, MO 63385

cc: Dr. Curtis Cain, Superintendent

Dear Mrs. Bates and Dr. Cain,

We, the Intellectual Freedom Committee of the Missouri Library Association (MLA-IFC), would like to formally express
our concern as Missouri librarians and intellectual freedom advocates regarding your recent decision to remove Toni
Morrison’s The Bluest Eye in spite of the recommendations of your review committee. Linked below you will find the
MLA’s recent statement in support of intellectual freedom that generally outlines our stance on banning, labeling, and
otherwise censoring books in libraries and schools. To be clear: We are against all practices that infringe on the
student’s right to read.

Toni Morrison’s The Bluest Eye is over fifty years old. It is critically acclaimed, and is the thirty-fourth most challenged
book of the twentieth century. In the first two decades of the twenty-first century, it has climbed to be the 10th most
challenged book. Challenges such as those to Toni Morrison’s work are on the rise nationally, and part of an
organized effort to undermine the civil and intellectual rights of students, particularly those from historically
marginalized groups (e.g., BIPOC and LGBTQ+ students). Whereas we recognize the right of parents to choose
what their own children read, we reject the notion that one parent or group of parents should be able to choose what
all students in a district read by having items removed or censored. Libraries and schools are contexts in which
students should be able to see works of literature and art that reflect their identities and perspectives represented in
collections. Toni Morrison is among the most decorated and important of contemporary American authors. She was a
woman of color who wrote from a perspective that speaks to many audiences, but importantly centers the
perspectives of Black characters and readers. Removing the book robs readers of the opportunity to engage in this
appreciation and to develop empathy for the perspectives of others. We believe that the goal of the proposed removal
is to do just that: undermine the intellectual and emotional well-being of students by alienating them from the
perspectives of Black authors. As you probably already know, Francis Howell School District has recently dealt with
a similar challenge to Morrison’s work, and has chosen to reject the attempt to ban the book. We support their
decision. Additionally, removing books as your district has done exposes you to lawsuits on behalf of those very
same students who are being denied the opportunity to see their experiences reflected in curricula and library
collections.

We encourage you to reexamine the depth of your commitment to education in the truest sense, and to find your
courage in the face of baseless political grandstanding at the expense of educators and students in your district. As
always, we support those working toward maintaining and promoting inclusive library collections, and the educators,
librarians, library workers, and staff who strive to create spaces for free inquiry and curiosity to flourish. Please
support your students by reconsidering your recent decision, and putting The Bluest Eye back on the shelf.


Sincerely,

Joe Kohlburn
Intellectual Freedom Committee 2022 Chair
Missouri Library Association

on Behalf of the Missouri Library Association Intellectual Freedom Committee

Attachments: MLA Statement on Recent Challenges- http://molib.org/mla-statement-on-intellectual-freedom/




                                                                                                         Exhibit 52
